    8:10-cb-00010-TDT       Doc # 8     Filed: 11/24/10     Page 1 of 1 - Page ID # 28



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA                       10 ~mv 24 PM 2: 4;)
                                                                            Ofl k<:. OF hL CLERK
UNITED STATES OF AMERICA,                  )
                                           )      Violation Number 230480 I-NE 14
                    Plaintiff,             )
                                           )
             vs.                           )      ORDER
                                           )
MARIA L. GARZA,                            )
                                           )
                    Defendant.             )


      On the motion of the United States Attorney's Office, the hearing is continued until March

29,2011.

      ORDERED this                 day of November, 2010.


                                           BY THE COURT:




                                           THO ~S D. THAL
                                           UNITED STATES MITRATE JUDGE
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